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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 38-46 WEST 33RD STREET LLC,                                     :
                                                                 :
                                                                 :   ORDER REGULATING
                                                                 :   PROCEEDINGS
                                          Plaintiff,
                                                                 :
              -against-                                          :   19 Civ. 8970 (AKH)
                                                                 :
                                                                 :
                                                                 :
 TRAVELERS PROPERTY CASUALTY                                     :
 COMPANY OF AMERICA,                                             :
                                          Defendant.
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On October 16, 2020, I held a telephonic status conference in the above-captioned

matter. As discussed at the conference, this matter shall proceed as follows:


                 1. On or before November 6, 2020, the parties shall file their respective motions
                    for summary judgment. Opposition papers will be due by November 20,
                    2020, and replies will be due by December 1, 2020.

                 2. There will be no adjournments.




                 SO ORDERED.

Dated:           October 16, 2020                    _____/s/ Alvin K. Hellerstein________________
                 New York, New York                        ALVIN K. HELLERSTEIN
                                                           United States District Judge
